Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 2
                                                           1 of 43
                                                                42
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-31 Filed 10/11/19
                                123-36 Filed 01/10/20 Page
                                                      Page 3
                                                           2 of
                                                             of 43
                                                                42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 4
                                                           3 of 43
                                                                42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 5
                                                           4 of 43
                                                                42
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-31 Filed 10/11/19
                                123-36 Filed 01/10/20 Page
                                                      Page 6
                                                           5 of
                                                             of 43
                                                                42
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-31 Filed 10/11/19
                                123-36 Filed 01/10/20 Page
                                                      Page 7
                                                           6 of
                                                             of 43
                                                                42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 8
                                                           7 of 43
                                                                42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 9
                                                           8 of 43
                                                                42
Case 1:16-cv-09390-GHW
Case 1:16-cv-09390-GHW Document
                       Document123-36
                                141-31 Filed
                                       Filed10/11/19
                                             01/10/20 Page
                                                      Page10
                                                           9 of
                                                             of42
                                                                43
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-31
                                123-36 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 11
                                                           10 of
                                                              of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 12
                                                           11 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 13
                                                           12 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 14
                                                           13 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 15
                                                           14 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 16
                                                           15 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 17
                                                           16 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 18
                                                           17 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 19
                                                           18 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 20
                                                           19 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 21
                                                           20 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 22
                                                           21 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 23
                                                           22 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 24
                                                           23 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 25
                                                           24 of 43
                                                                 42
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-31
                                123-36 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 26
                                                           25 of
                                                              of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 27
                                                           26 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 28
                                                           27 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 29
                                                           28 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 30
                                                           29 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 31
                                                           30 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 32
                                                           31 of 43
                                                                 42
                                123-36 Filed 10/11/19
Case 1:16-cv-09390-GHW Document 141-31       01/10/20 Page 33
                                                           32 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 34
                                                           33 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 35
                                                           34 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 36
                                                           35 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 37
                                                           36 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 38
                                                           37 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 39
                                                           38 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 40
                                                           39 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 41
                                                           40 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 42
                                                           41 of 43
                                                                 42
Case 1:16-cv-09390-GHW Document 141-31
                                123-36 Filed 10/11/19
                                             01/10/20 Page 43
                                                           42 of 43
                                                                 42
